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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

 Christopher Sadowski,                                  :
 96 9th Avenue                                          :
 Hawthorne, NJ 07506                                    :
                                                        :   Case No:
                          Plaintiff,                    :
                                                        :   COMPLAINT
                v.                                      :
                                                        :   JURY TRIAL DEMAND
 Manning Broadcasting, Inc.,                            :
 5742 Industry Lane                                     :
 Frederick, MD 21704                                    :
                                                        :
                          Defendant.                    :
                                                        :


       Plaintiff Christopher Sadowski (“Plaintiff”), by and through his undersigned counsel, for

his Complaint against defendant Manning Broadcasting, Inc. (“Defendant”) states and alleges as

follows:

                                         INTRODUCTION

       1.      This action seeks to recover damages for copyright infringement under the

Copyright Act, 17 U.S.C §101 et seq. and for violation of the Digital Millennium Copyright Act

(“DMCA”), 17 U.S.C. §1202(b)

       2.      Plaintiff created a photograph of a “Welcome to New Jersey” road sign (the

“Photograph”) in which Plaintiff owns the rights and licenses for various uses including online

and print publications.

       3.      Upon information and belief, Defendant is the owner and operator of radio

broadcasting stations in the United States and broadcasts sporting events for the Baltimore Orioles,

Baltimore Ravens, and Maryland Terrapins.

       4.      In furtherance of its business, Defendant owns and operates a Facebook account

named as “106.9 The Eagle” (the “Account 1”).

       5.      Defendant       also    owns   and       operates   an   Instagram   account   named



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“@1069theeaglemd” (the “Account 2”) (collectively Account 1 and Account 2 are referred to as

the “Accounts”).

       6.      Defendant, without permission or authorization from Plaintiff, actively copied

and/or displayed the Photograph on the Accounts and engaged in this misconduct knowingly and

in violation of the United States copyright laws.

                                              PARTIES

        7.     Plaintiff Christopher Sadowski is an individual who is a citizen of the State of New

Jersey and maintains a principal place of business in Passaic County, New Jersey.

        8.     Upon information and belief, defendant Manning Broadcasting, Inc., is a Delaware

corporation with a principal place of business at 5742 Industry Lane, Frederick in Frederick

County, Maryland.

                                 JURISDICTION AND VENUE

        9.     This Court has subject matter jurisdiction over the federal copyright infringement

claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

        10.    This Court has personal jurisdiction over Defendant because it maintains its

principal place of business in Maryland.

        11.    Venue is proper under 28 U.S.C. §1391(b)(2) because Defendant does business in

this Judicial District and/or because a substantial part of the events or omissions giving rise to the

claim occurred in this Judicial District.

                             FACTS COMMON TO ALL CLAIMS

A.      Plaintiff's Copyright Ownership

        12.    Plaintiff is a professional photographer by trade who is the legal and rightful owner

of certain photographs which Plaintiff commercially licenses.

        13.    Plaintiff has invested significant time and money in building Plaintiff's photograph

portfolio.

        14.    Plaintiff has obtained active and valid copyright registrations from the United States

Copyright Office (the “USCO”) which cover many of Plaintiff's photographs while many others


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are the subject of pending copyright applications.

       15.     Plaintiff's photographs are original, creative works in which Plaintiff owns

protectable copyright interests.

       16.     On December 6, 2019, Plaintiff first published the Photograph. A copy of the

Photograph is attached hereto as Exhibit 1.

       17.     Plaintiff published the Photograph by commercially licensing it to a third-party

media company for the purpose of display and/or public distribution.

       18.     In creating the Photograph, Plaintiff personally selected the subject matter, timing,

lighting, angle, perspective, depth, lens, and camera equipment used to capture the image, and

made each and every artistic determination necessary for the creation of the work.

       19.     On December 31, 2019, the Photograph was registered by the USCO under

Registration No. VA 2-190-524.

       20.     Plaintiff created the Photograph with the intention of it being used commercially

and for the purpose of display and/or public distribution.

B.     Defendant's Infringing Activity
       21.     Defendant is the registered owner of the Accounts and is responsible for their

content.

       22.     Defendant is the operator of the Accounts and is responsible for their content.

       23.     The Accounts are a part of and used to advance Defendant's commercial enterprise.

       24.     Upon information and belief, Defendant is a sophisticated media company which

owns a comprehensive portfolio of digital platforms and has advanced operational and strategic

expertise in the media industry where copyright is prevalent.

       25.     Upon information and belief, Defendant's staff have significant experience in

copyright matters and are familiar with specific journalistic practices including the need to ensure

that images used in their articles have been properly licensed.

       26.     Upon information and belief, Defendant has not implemented adequate internal

policies to verify copyright ownership before content use, indicating a gross negligence in legal


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compliance, which is essential for a company with Defendant's reach, capabilities, and level of

sophistication.

       27.        Upon information and belief, Defendant's internal policies, if any, are either not

designed to verify copyright ownership before content use or are systematically ignored, indicating

a willful, recurring disregard for copyright compliance.

       28.        Defendant's failure to adopt or effectively enforce internal copyright policies, if

any, indicates de facto willful infringement.

       29.        On or about June 2, 2023, without permission or authorization from Plaintiff,

Defendant volitionally copied and displayed the Photograph on Account 1 as part of a post at URL:

https://www.facebook.com/photo/?fbid=10163006011522818&set=pb.100063660785387.-

2207520000. A copy of a screengrab of the Account including the Photograph is attached hereto

as Exhibit 2.
       30.        On or about June 3, 2023, also without permission or authorization from Plaintiff,

Defendant volitionally copied and displayed the Photograph on the Account 2 as part of a post at

URL: https://www.instagram.com/p/CtCzUYNv103. A copy of a screengrab of the Account 2

including the Photograph is attached hereto as Exhibit 2.

       31.        Plaintiff first observed the infringing uses of the Photograph and Defendant's

violation of the DMCA on July 27, 2023.

       32.        Upon information and belief, the Photograph was copied and displayed by

Defendant without license or permission, thereby infringing on Plaintiff's copyrights in and to the

Photograph (hereinafter all of the unauthorized uses set forth above are referred to as the

“Infringements”).

       33.        The Infringements each include a URL (“Uniform Resource Locator”) for a fixed

tangible medium of expression that was sufficiently permanent or stable to permit it to be

communicated for a period of more than a transitory duration and therefore constitutes a specific

infringement.

       34.        The Infringement is an exact copy of the vast majority of Plaintiff's original image


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that was directly copied and displayed by Defendant on the Accounts.

       35.     Upon information and belief, Defendant takes an active and pervasive role in the

content posted on its Accounts, including, but not limited to, copying, posting, selecting,

commenting on and/or displaying images including, but not limited to, Plaintiff's Photograph.

       36.     Upon information and belief, the Photograph was willfully and volitionally posted

to the Website by Defendant.

       37.     Upon information and belief, Defendant was aware of facts or circumstances from

which the determination regarding the Infringements was apparent. Defendant cannot claim that it

was not aware of the infringing activities, including the specific Infringements which form the

basis of this complaint, since such a claim would amount to only willful blindness to the

Infringements on the part of Defendant.

       38.     Upon information and belief, Defendant engaged in the Infringements knowingly

and in violation of applicable United States copyright laws.

       39.     Upon information and belief, Defendant had complete control over and actively

reviewed and monitored the content posted on the Accounts.

       40.     Upon information and belief, Defendant has the legal right and ability to control

and limit the infringing activities on the Accounts and exercised, and/or had the right and ability

to exercise, such right.

       41.     Upon information and belief, Defendant monitors the content on the Accounts.

       42.     Upon information and belief, Defendant has received a financial benefit directly

attributable to the Infringements.

       43.     Upon information and belief, the Infringements increased traffic to the Accounts

and, in turn, caused Defendant to realize an increase in its advertising revenues.

       44.     Upon information and belief, a large number of people have viewed the unlawful

copies of the Photograph on the Accounts.

       45.     Upon information and belief, Defendant at all times had the ability to stop the

reproduction and display of Plaintiff's copyrighted material.


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        46.       Defendant's use of the Photograph harmed the actual market for the Photograph.

        47.       Defendant's use of the Photograph, if widespread, would harm Plaintiff's potential

market for the Photograph.

        48.       On February 15, 2024, Plaintiff, via counsel, served a letter seeking to address the

complaints contained herein concerning Defendant's infringement of Plaintiff's rights-protected

work.

        49.       On April 15, 2024, Plaintiff, via counsel, served a second letter on Defendant.

        50.       Despite Plaintiff's efforts and willingness to address Defendant's infringing activity

Defendant failed to respond and Plaintiff was forced to seek judicial intervention for Defendant's

infringing activity.

        51.       Further, despite Plaintiff's notification to Defendant concerning its infringing

activity, Defendant continues to infringe on Plaintiff's work thereby establishing the willful nature

of its conduct.

        52.       As a result of Defendant's misconduct, Plaintiff has been substantially harmed.

                                          FIRST COUNT
                       (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
        53.       Plaintiff repeats and incorporates by reference the allegations contained in the

preceding paragraphs, as though set forth in full herein.

        54.       The Photograph is an original, creative work in which Plaintiff owns a valid

copyright.

        55.       The Photograph is properly registered with the USCO and Plaintiff has complied

with all statutory formalities under the Copyright Act and under regulations published by the

USCO.

        56.       Plaintiff has not granted Defendant a license or the right to use the Photograph in

any manner, nor has Plaintiff assigned any of its exclusive rights in the copyright to Defendant.

        57.       Without permission or authorization from Plaintiff, and in willful violation of

Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied, reproduced,



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distributed, adapted, and/or publicly displayed works copyrighted by Plaintiff thereby violating

one of Plaintiff's exclusive rights in its copyrights.

         58.    Defendant's reproduction of the Photograph and display of the Photograph

constitutes willful copyright infringement.

         59.    Upon information and belief, Defendant willfully infringed upon Plaintiff's

copyrighted Photograph in violation of Title 17 of the U.S. Code, in that Defendant used,

published, communicated, posted, publicized, and otherwise held out to the public for commercial

benefit, Plaintiff's original and unique Photograph without Plaintiff's consent or authority, by using

it on the Accounts.

         60.    As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is entitled

to an award of actual damages and disgorgement of all of Defendant's profits attributable to the

infringements as provided by 17 U.S.C. § 504 in an amount to be proven or, in the alternative, at

Plaintiff's election, an award for statutory damages against Defendant for each infringement

pursuant to 17 U.S.C. § 504(c).

         61.    As a result of the Defendant's violations of Title 17 of the U.S. Code, the court in

its discretion may allow the recovery of full costs as well as reasonable attorney's fees and costs

pursuant to 17 U.S.C. § 505 from Defendant.

         62.    As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is entitled

to injunctive relief to prevent or restrain infringement of Plaintiff's copyright pursuant to 17 U.S.C.

§ 502.

                                      SECOND COUNT
                      (Removal and/or Alteration of Copyright Management
                               Information 17 U.S.C. § 1202(b))
         63.    Plaintiff repeats and incorporates, as though fully set forth herein, each and every

allegation contained in the preceding paragraphs, as though set forth in full herein.

         64.    The Photograph as originally published in https://nypost.com/2019/12/06/new-

jersey-nyc-government-accounts-get-into-bizarre-twitter-feud/         contained     a    gutter   credit



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attributing Plaintiff Christopher Sadowski as the author of the work. Such a credit qualifies as

copyright management information (“CMI”) under section 1202(c) of the DMCA, 17 U.S.C.

§1202(c). A copy of a screengrab of the Original Source page is attached hereto as Exhibit 3.

       65.     Defendant distributed the Infringements without Plaintiff's CMI, as there was no

credit provided to Plaintiff upon Defendant's display of the Photograph on the Accounts.

       66.     Upon information and belief, Defendant's distribution of the infringing posts

containing the Photograph was done with actual knowledge that Plaintiff's CMI was removed

and/or altered without Plaintiff's permission.

       67.     Upon information and belief, Defendant had reasonable grounds to know that its

distribution of the infringing posts containing the Photograph would induce, enable, facilitate or

conceal an infringement.

       68.     Upon information and belief, in addition to removing the Plaintiff's CMI,

Defendant also removed the metadata from the Photograph.

       69.     Defendant's conduct violates 17 U.S.C. § 1202(b).

       70.     Plaintiff has sustained substantial injury and monetary damages as a result of

Defendant's wrongful acts as herein alleged, and as a result of being involuntarily associated with

Defendant, in an amount to be proven at trial.

       71.     As a result of Defendant's violations of the DMCA, pursuant to 17 U.S.C. §

1203(c)(2), Plaintiff is entitled to an award of the actual damages suffered as a result of the

violation including any profits of the Defendant attributable to the violation or, alternatively,

Plaintiff may elect to recover from Defendant statutory damages pursuant to 17 U.S.C. §

1203(c)(3) in a sum of at least $2,500 up to $25,000 for each violation of 17 U.S.C. § 1202(b).

       72.     As a result of the Defendant's violations of the DMCA, the court in its discretion

may allow the recovery of reasonable attorney's fees and full costs pursuant to 17 U.S.C. §

1203(b)(4) and (5) from Defendant.

                                        JURY DEMAND

       73.     Plaintiff hereby demands a trial of this action by jury.


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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       That the Court enters a judgment finding that Defendant has infringed on Plaintiff's rights

to the Photograph in violation of 17 U.S.C. §501 et seq. and has violated the DMCA under 17

U.S.C. §1202(b) and therefore award damages and monetary relief as follows:

              a.      finding that Defendant infringed on Plaintiff's copyright interest in and to

                      the Photograph by copying and displaying it without a license or consent;

              b.      for an award of actual damages and disgorgement of all of Defendant's

                      profits attributable to the infringements as provided by 17 U.S.C. § 504(b)

                      in an amount to be proven or, in the alternative, at Plaintiff's election, an

                      award for statutory damages against Defendant for each infringement

                      pursuant to 17 U.S.C. § 504(c), whichever is larger;

              c.      finding that Defendant violated section 1202(b) of the DMCA; 17 U.S.C. §

                      1202(b);

              d.      for an award of actual damages or, in the alternative, statutory damages

                      against Defendant in an amount up to $25,000.00 for each violation of the

                      DMCA pursuant to 17 U.S.C. § 1203(c);

              e.      for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant from any

                      infringing use of any of Plaintiff's works;

              f.      for costs of litigation and reasonable attorney's fees against Defendant

                      pursuant to 17 U.S.C. § 505 and/or 17 U.S.C. §1203(b)(4) and (5);

              g.      for pre-judgment interest as permitted by law; and

              h.      for any other relief the Court deems just and proper.




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DATED: April 9, 2025

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